 Case 18-11840       Doc 43 Filed 07/23/18 Entered 07/23/18 16:20:11 Desc Main
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                    IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF MASSACHUSETTS

In Re:
                                                        Case No. 18-11840-MSH
KAREN R. MERRITT,                                            (Chapter 13)
DEBTOR

MOTION FOR EXPEDITED HEARING AND APPROVAL OF SHORTENED OBJECTION
                              PERIOD

                          (Request for Expedited Determination)

         To the Honorable Melvin S. Hoffman, United States Bankruptcy Judge:

         Pursuant to 11 U.S.C. § 105(a), Federal Rule of Bankruptcy Procedure (“FRBP”)

9006(c)(1) and Local Bankruptcy Rules of the United States Bankruptcy Court for the

District of Massachusetts (“MLBR”) 2002-1(a), 4001-(c) and 9013-1 (d) and (g), PENSCO

Trust Company Custodian, f/b/o James P. Tiernan IRA (“Tiernan IRA”), and PENSCO

Trust Company Custodian, f/b/o Richard J. Fagan (“Fagan IRA”), secured creditors in the

above-captioned bankruptcy case (collectively “the IRAs”), file this Motion for Expedited

Hearing Approval of Shortened Objection Period (“this Motion”) with respect to the IRAs

previously filed Motion for Relief from Automatic Stay and Co-Debtor Stay dated July 9,

2018 (“Motion for Relief”) (Docket No. 29). As noted above, given the exigent

circumstances involved, the IRA’s seek expedited determination of this Motion. If this

Motion is granted, the IRAs request a new hearing date be set down for one of the

following dates and time: (a) August 3, 2018 at 9:00AM (or 10:00 AM if 9:00 AM is

unavailable); August 6, 2018 at 9:00AM (or 10:00 AM if 9:00 AM is unavailable); and

August 10 2018 at 9:00AM (or 10:00 AM if 9:00 AM is unavailable);

         IN SUPPORT of this Motion, the IRAs state as follows:

         1.    As stated in the Motion for Relief, the IRAs seek relief from the automatic

stay for cause, and by extension, from the co-debtor stay, in order to permit the IRAs to
